                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                               KNOXVILLE – COURTROOM 3A

 Case #: 3:22-mj-2002                                                    Date: June 16, 2022

         United States of America          vs.   Matthew Jones

  3UHVHQW%HIRUH Honorable Jill E. McCook, United States Magistrate Judge



   &RXUWURRP 'HSXW\                 Court Reporter                 /DZ&OHUN
   Mallory Dahl                      ECRO                            Michelle Gensheimer


   Asst. U.SAtty V                3UREDWLRQ2IILFHU V            $WW\ V IRU'HIHQGDQW V 
   Alan Kirk                          Corey Miller                   Benjamin Sharp




   2WKHUV3UHVHQW
   Richie Bradley (USMS)
   John Sanchez (USMS)

  3URFHHGLQJV
   Parties present for a status conference. Parties advised Court of proceedings in the District of
   Utah.




 Dates set at this hearing:                                                  DHDGOLQHV set at this hearing:
   Jury Trial:                                                               Discovery DDL:
   Pretrial Conf.:                                                               Motion Cut-Off:
   Detention Hrng.:                                                          Response to MWQV
   0RWLRQ+UQJ                                                                  5HFLSURFDO'LVF
   6WDWXV&RQI                                                                  3OHD''/ 

           'HIHQGDQWUHPDQGHGWRFXVWRG\        Defendant released on Order Setting Conditions of Release.

7LPH 11:00 A.M.         WR 11:15 A.M.

            Mallory Dahl
            ,                'HSXW\&OHUN&(57,)<WKHRIILFLDOUHFRUGRIWKLVSURFHHGLQJLVDQDXGLRILOH
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